            Case 4:07-cv-05944-JST Document 2243-2 Filed 12/03/13 Page 1 of 2




 1
     Kenneth A. Gallo (pro hac vice)
 2   Joseph J. Simons (pro hac vice)
     Craig A. Benson (pro hac vice)
 3   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     2001 K Street, NW
 4   Washington, DC 20006-1047
     Telephone: (202) 223-7356
 5   Facsimile: (202) 204-7356
     Email: kgallo@paulweiss.com
 6   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
 7
     Stephen E. Taylor (SBN 058452)
 8   Jonathan A. Patchen (SBN 237346)
     TAYLOR & COMPANY LAW OFFICES, LLP
 9   One Ferry Building, Suite 355
     San Francisco, California 94111
10   Telephone: (415) 788-8200
     Facsimile: (415) 788-8208
11   Email: staylor@tcolaw.com
     Email: jpatchen@tcolaw.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company of America, Inc.

14

15
                                      UNITED STATES DISTRICT COURT
16
                                   NORTHERN DISTRICT OF CALIFORNIA
17
                                           SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST                    Case No. 07-cv-05944 (SC)
19   LITIGATION
                                                                MDL No. 1917
20   This Document Relates To:                                  [PROPOSED] ORDER GRANTING
21                                                              SHARP’S ADMINISTRATIVE
     Sharp Electronics Corp., et al. v. Hitachi Ltd., et al.,   MOTION TO FILE DOCUMENTS
     Case No. C 13-1173 (SC)                                    RELATED TO SHARP’S MOTION
22
                                                                TO COMPEL UNDER SEAL
23                                                              PURSUANT TO CIVIL LOCAL
                                                                RULES 7-11 AND 79-5(b)
24

25

26

27
28
     [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
                                 CIVIL LOCAL RULES 7-11 AND 79-5(b)
                          Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
            Case 4:07-cv-05944-JST Document 2243-2 Filed 12/03/13 Page 2 of 2




 1                 Upon consideration of Sharp’s Administrative Motion to File Documents Related to

 2   Sharp’s Motion to Compel Under Seal Pursuant to Civil Local Rules 7-11 and 79-5(b), submitted in

 3   connection with Sharp’s Motion to Compel, it is hereby:

 4                 ORDERED that the Administrative Motion is hereby GRANTED; and it is further

 5                 ORDERED that the Clerk shall file and maintain under seal Sharp’s Unredacted Motion

 6   to Compel and Exhibits C, D and E and K attached to the Declaration of Craig Benson in Support of

 7   Sharp’s Motion to Compel.

 8

 9   IT IS SO ORDERED.
10

11            DATED:                      , 2013         _________________________________
12                                                             HON. SAMUEL CONTI
                                                          UNITED STATES DISTRICT JUDGE
13

14

15

16

17

18

19

20

21

22

23

24

25

26
27
                                                   -2-
     [PROPOSED] ORDER GRANTING SHARP’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL PURSUANT TO
                                 CIVIL LOCAL RULES 7-11 AND 79-5(b)
                          Case No. 07-cv-5944, MDL No. 1917; Case No. 13-cv-1173
